                   IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE NORTHERN DISTRICT OF ALABAMA
                              NORTHERN DIVISION

 In re: Markel Behel & Melanie Behel dba         )             Case No.: 18-81697-12
        Behel Farms                              )
        EIN: xx-xxx6971                          )
                                                 )
              Debtor.                            )             CHAPTER 12
                                                 )




                                    DEBTORS’
                            PLAN OF REORGANIZATION
                             DATED SEPTEMBER 4, 2018




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 Dated: September 4, 2018




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                                                      )


                          DEBTORS’ PLAN OF REORGANIZATION


         Markel Behel and Melanie Behel (the "Debtors"), as Debtors and Debtors-in-Possession,
 propose this Plan of Reorganization (the "Plan") pursuant to Section 1221 of Title 11 of the
 United States Code for the resolution of the Debtors’ outstanding creditor claims and equity
 interests.

                                           ARTICLE 1
                                          DEFINITIONS

         As used herein, the following terms have the respective meanings specified below, and
 such meanings shall be equally applicable to both the singular and plural, and masculine and
 feminine, forms of the terms defined. The words "herein," "hereof," "hereto," "hereunder" and
 others of similar import, refer to the Plan as a whole and not to any particular section, subsection
 or clause contained in the Plan. Captions and headings to articles, sections and exhibits are
 inserted for convenience of reference only and are not intended to be part of or to affect the
 interpretation of the Plan. The rules of construction set forth in Section 102 of the Bankruptcy
 Code shall apply. In computing any period of time prescribed or allowed by the Plan, the
 provisions of Bankruptcy Rule 9006(a) shall apply. Any capitalized term used but not defined
 herein shall have the meaning ascribed to such term in the Bankruptcy Code. In addition to such
 other terms as are defined in other sections of the Plan, the following capitalized terms have the
 following meanings when used in the Plan.

        1.1    "Administrative Claim" means a Claim for costs and expenses of administration
 allowed under Section 503(b) of the Bankruptcy Code and referred to in Section 507(a)(1) of the
 Bankruptcy Code.

         1.2    "Allowed Claim" means a Claim that is (a) not a Disputed Claim or (b) a Claim
 that has been allowed by a Final Order.

         1.3     "Bankruptcy Code" or "Code" means Title 11 of the United States Code as now in
 effect or hereafter amended.




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         1.4    "Bankruptcy Court" means the United States Bankruptcy Court for the Northern
 District of Alabama, Northern Division, which presides over this proceeding, or if necessary, the
 United States District Court for said District having original jurisdiction over this case.

       1.5     "Bankruptcy Rules" means, collectively (a) the Federal Rules of Bankruptcy
 Procedure, and (b) the local rules of the Bankruptcy Court, as applicable from time to time in the
 Reorganization Case.

         1.6    "Business Day" means any day, other than a Saturday, Sunday or "legal holiday"
 (as defined in Bankruptcy Rule 9006(a)).

         1.7     "Cash" means cash, wire transfer, certified check, cash equivalents and other
 readily marketable securities or instruments, including, without limitation, readily marketable
 direct obligations of the United States of America, certificates of deposit issued by banks, and
 commercial paper of any Person, including interests accrued or earned thereon, or a check from
 the Debtor.

         1.8     "Claim" means any right to payment from the Debtors arising before the
 Confirmation Date, whether or not such right is reduced to judgment, liquidated, unliquidated,
 fixed, contingent, matured, unmatured, contested, uncontested, legal, equitable, secured, or
 unsecured; or any right to an equitable remedy for breach of performance if such breach gives
 rise to a right of payment from the Debtors prior to the Confirmation Date, whether or not such
 right to an equitable remedy is reduced to judgment, fixed, contingent, matured, unmatured,
 contested, uncontested, secured or unsecured.

           1.9    "Class" means one of the classes of Claims or Interests defined in Article III
 hereof.

         1.10 "Confirmation" means the entry of a Confirmation Order confirming this Plan at
 or after a hearing pursuant to Section 1225 of the Bankruptcy Code.

        1.11 "Confirmation Date" means the date the Confirmation Order is entered on the
 docket of the Bankruptcy Court.

        1.12 "Confirmation Order" means the order entered by the Bankruptcy Court
 confirming the Plan pursuant to Section 1225 of the Bankruptcy Code.

           1.13   "Debtors" means Markel Behel and Melanie Behel.

        1.14 "Disputed Claim" means a Claim as to which a proof of claim has been Filed or
 deemed Filed under applicable law, as to which an objection has been or may be timely Filed and
 which objection, if timely Filed, has not been withdrawn on or before any date fixed for Filing
 such objections by the Plan or Order of the Bankruptcy Court and has not been overruled or
 denied by a Final Order. Prior to the time that an objection has been or may be timely Filed, for
 the purposes of this Plan, a Claim shall be considered a Disputed Claim to the extent that: (i) the
 amount of the Claim specified in the proof of claim exceeds the amount of any corresponding



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 Claim listed by the Debtors in their respective Schedules to the extent of such excess; (ii) any
 corresponding Claim listed by the Debtors in their respective Schedules has been scheduled as
 disputed, contingent, or unliquidated, irrespective of the amount scheduled; or (iii) no
 corresponding Claim has been listed by the Debtors in their respective Schedules. Disputed
 Claims also includes Claims subject to a pending action for equitable subordination of such
 Claims.

         1.15 “Distributions" means the properties or interests in property to be paid or
 distributed hereunder to the holders of Allowed Claims.

         1.16   “Docket" means the docket in the Reorganization Case maintained by the Clerk.

        1.17 "Effective Date" means the twentieth (20th) business day after an Order
 confirming this Plan becomes final and no longer open for appeal, stay or reconsideration in
 accordance with the Federal Rules of Bankruptcy Procedure and/or the Federal Rules of
 Appellate Procedure or the first business day of the next calendar month, whichever is later.

         1.18 "Estate" means the estate created in this Reorganization Case under Section 541
 of the Bankruptcy Code.

         1.19 "Executory Contract" means any unexpired lease and/or executory contract as set
 forth in Section 365 of the Code.

         1.20   "File" or "Filed" means filed with the Bankruptcy Court in the Reorganization
 Case.

        1.21 "Final Order" means an order or judgment of the Bankruptcy Court, or other court
 of competent jurisdiction, as entered on the Docket in the Reorganization Case, which has not
 been reversed, stayed, modified or amended.

       1.22     "Order" means an order or judgment of the Bankruptcy Court as entered on the
 Docket.

        1.23 "Person" means any individual, corporation, general partnership, limited
 partnership, association, joint stock company, joint venture, estate, trust, indenture trustee,
 government or any political subdivision, governmental unit (as defined in the Bankruptcy Code).

        1.24 "Petition Date" means June 8, 2018, the date on which Debtors filed the voluntary
 Chapter 12 petition.

        1.25 "Plan" means this Plan of Reorganization in its present form, or as it may be
 amended, modified, and/or supplemented from time to time in accordance with the Bankruptcy
 Code, or by agreement of all affected parties, or by order of the Bankruptcy Court, as the case
 may be.




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        1.26    "Pre-Petition Tax Claim" means a Tax Claim that arises prior to the Petition Date.

         1.27 "Priority Claim" means all Claims entitled to priority under 11 U.S.C. §§ 507(a)
 of the Bankruptcy Code, other than an Administrative Claim or a Tax Claim.

       1.28 "Pro Rata" means proportionately, based on the percentage of the distribution
 made on account of a particular Allowed Claim bears to the distributions made on account of all
 Allowed Claims of the Class in which the Allowed Claim is included.

        1.29 "Rejection Claim" means a Claim resulting from the rejection of a lease or
 executory contract by the Debtor.

          1.30 "Schedules" means the Schedules of Assets and Liabilities, Statement of Financial
 Affairs and Statement of Executory Contracts that may be filed by the Debtors with the
 Bankruptcy Court, as amended or supplemented on or before the Confirmation Date, listing the
 liabilities and assets of the Debtor.

         1.31 "Secured Claim" means any Claim that is secured by a lien on property in which
 the Estate has an interest or that is subject to setoff under Section 553 of the Bankruptcy Code, to
 the extent of the value of the Claim holder's interest in the Estate’s interest in such property or to
 the extent of the amount subject to setoff, as applicable, as determined pursuant to Section 506(a)
 of the Bankruptcy Code.

        1.32 "Security Agreement" means the documentation under which a lien against
 property is reflected.

         1.33 "Tax Claim" means either (a) an Unsecured Allowed Claim of a governmental
 entity as provided by Section 507(a)(8) of the Code, or (b) an Allowed Claim of a governmental
 entity secured by a lien on property of the Debtors under applicable state law.

        1.34 "Unsecured Claim" means any Claim that is not an Administrative Claim, Priority
 Claim, Pre-Petition Tax Claim or Secured Claim.


                                      ARTICLE 2
                                    TREATMENT OF
                            ADMINISTRATIVE EXPENSE CLAIMS
                               AND PRIORITY TAX CLAIMS

        2.1     Administrative Expense Claims.

        Except to the extent that a holder of an Allowed Administrative Expense Claim has been
 paid by a Debtor prior to the Effective Date or agrees to less favorable treatment, each holder of
 an Allowed Administrative Expense Claim shall receive Cash from the Debtors obligated for the
 payment of such Allowed Administrative Expense Claim in an amount equal to the Allowed
 amount of such Administrative Expense Claim on the later of the Effective Date and the date



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 such Administrative Expense Claim becomes an Allowed Administrative Expense Claim, or as
 soon thereafter as is practicable; provided, however, that Allowed Administrative Expense
 Claims representing liabilities incurred in the ordinary course of business by a Debtor or other
 obligations incurred by such Debtor shall be paid in full and performed by such Debtor in the
 ordinary course of business in accordance with the terms and subject to the conditions of any
 agreements governing, instruments evidencing, or other documents relating to such transactions.

        2.2    Professional Compensation and Reimbursement Claims.

         Other than a professional retained by the Debtors pursuant to the Ordinary Course
 Professional Order, any entity seeking an award of the Bankruptcy Court of compensation for
 services rendered and/or reimbursement of expenses incurred on behalf of the Debtors and the
 Creditors’ Committee through and including the Effective Date under Section 105(a), 363(b),
 503(b)(2), 503(b)(3), 503(b)(4) or 503(b)(5) of the Bankruptcy Code shall (a) file its final
 application for allowance of such compensation and/or reimbursement by no later than the date
 that is 120 days after the Effective Date or such other date as may be fixed by the Bankruptcy
 Court, and (b) be paid by or on behalf of the Debtors in full and in Cash in the amounts Allowed
 upon (i) the date the order granting such award becomes a Final Order, or as soon thereafter as
 practicable, or (ii) such other terms as may be mutually agreed upon by the claimant and the
 Debtors obligated for the payment of such Allowed Claim. The Debtors are authorized to pay
 compensation for professional services rendered and reimburse expenses incurred on behalf of
 the Debtors and the Creditors’ Committee after the Effective Date in the ordinary course and
 without Bankruptcy Court approval.


                                          ARTICLE 3
                                       DESIGNATION OF
                                    CLAIMS AND INTERESTS

         3.1     The following is a designation of the classes of Claims and Interests under this
 Plan. A Claim or Interest is classified in a particular class only to the extent that the Claim or
 Interest qualifies within the description of that class, and is classified in another class or classes
 to the extent that any remainder of the Claim or Interest qualifies within the description of such
 other class or classes. A Claim or Interest is classified in a particular class only to the extent that
 the Claim or Interest is an Allowed Claim or Allowed Interest in that class and has not been paid,
 released or otherwise satisfied before the Effective Date; a Claim or Interest which is not an
 Allowed Claim or Interest is not in any Class. Notwithstanding anything to the contrary
 contained in this Plan, no distribution shall be made on account of any Claim or Interest that is
 not an Allowed Claim.



         Class                               Treatment
      Class 1 –
                            Claim # 1-1      The claim in this class will be will refinanced and re-amortized
 Secured Claim (Ally                         on a 6-year term note at the 6-year fixed rate of Prime, in
      Financial)                             accord with the rates published in the Wall Street Journal plus



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                                              1.00%. The new rate will be set on the Confirmation Date.
                                              New payments will begin on the Effective Date. Debtors will
                                              make this payment directly. (Estimated payment - $335 per
                                              month).


                                              The secured status of the claim in this class is disputed and
                                              currently subject to a 11 U.S.C. § 506 motion filed by the
                                              Debtors. To the extent the claim in this class is allowed as a
                                              secured claim, the secured debt will be refinanced and re-
      Class 2 –
                           Claim # 3-1        amortized on a 6-year term note at the 6-year fixed rate of
 Secured Claim (Ford                          Prime, in accord with the rates published in the Wall Street
                         Claim’s secured
    Motor Credit                              Journal plus 1.00%. The new rate will be set on the
                         status is disputed
   Company, LLC)                              Confirmation Date. New payments will begin on the Effective
                                              Date. Debtors will make this payment directly (Estimated
                                              payment - $160 per month, if claim is allowed in full).

                         Claims # 2-1 &
   Class 3 – General            4-1           Current claims in this class total $1,543.09. Trustee will make
  Unsecured Claims       (and 3-1 to the      payments of $514.36 once a year, split pro-rata between the
    (including open     extent its claim is   creditors in this class for the course of three such annual
  accounts and credit       rendered          payments. This class is expected to receive its allowed claims
         cards)            unsecured)         paid in full.




                                     ARTICLE 4
                               PAYMENTS TO THE TRUSTEE

       4.1     One a year, beginning on the first day of the 12th month following the Effective
 day and continuing for a period of three years, the Debtors will make a payment of $540.09 to
 the Chapter 12 Trustee. The Trustee will be entitled to a 5.00% commission on each annual
 payment. Upon receipt and processing of these funds, the Trustee will timely pay the allowed
 unsecured creditors their pro-rata share of each annual payment.


                                    ARTICLE 5
                            DISCHARGE OF INDEBTEDNESS

        5.1     Upon completion of the Debtors’ third annual payment to the Chapter 12 Trustee,
 the Debtors will receive a discharge of all debts listed in their schedules pursuant to 11 U.S.C. §
 1228.




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                                  ARTICLE 6
                   MEANS FOR EXECUTION AND IMPLEMENTATION
                                 OF THE PLAN

       6.1     Funding of the Distribution. On the Effective Date, the Debtors shall first fund
 payments to the holders of Allowed Administrative Claims.

        6.2     Authorization to Take Necessary and Appropriate Actions to Effectuate Plan. On
 the Effective Date, the Debtors shall be authorized and directed to take all necessary and
 appropriate actions to effectuate the transactions contemplated by the Plan.


                                  ARTICLE 7
                  FUNDING AND METHODS OF DISTRIBUTION AND
                PROVISIONS FOR TREATMENT OF DISPUTED CLAIMS

         7.1     The Debtors’ normal cash flow will be the sole source of funds for the payments
 to creditors authorized by the U.S. Bankruptcy Court’s confirmation of this Plan.

        7.2     To the extent the estate receives proceeds from the outcome of any pending
 lawsuits, such funds will be first paid to the Chapter 12 Trustee in an amount necessary to satisfy
 all remaining unsecured or administrative claims. Any excess proceeds will be returned to the
 Debtors.


                                    ARTICLE 8
                       CONTINUING STAY ON ALL COLLECTIONS
                            DURING PENDANCY OF PLAN

         8.1     So long as the Debtors’ Chapter 12 case is not dismissed, the protections afforded
 them by 11 U.S.C. §§ 362 & 1201 will remain in full effect to stay all collection actions of any
 pre-petition debts, claims, liens, or other related occurrences against the Debtors, the bankruptcy
 estate, or property of the bankruptcy estate for the pendency of their Chapter 12 Plan.


                                    ARTICLE 9
                         DEFAULT AND OPPORTUNITY TO CURE

         9.1    During the pendency of this Plan, should any party-in-interest aver that the
 Debtors have materially defaulted to any of their obligations under this Plan, such party
 must give written notice of the default to the Debtors at the addresses stated below. The
 Debtors will have 21 days from receipt of the notice to cure any such default. If the Debtors
 fail to cure within this 21-day deadline, the party giving notice of the default may proceed
 accordingly with any legal rights available under applicable law.




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                                       ARTICLE 10
                                RETENTION OF JURISDICTION

         Notwithstanding the entry of the Confirmation Order or the occurrence of the Effective
 Date, the Bankruptcy Court shall retain such jurisdiction over the Reorganization Case after the
 Effective Date as is legally permissible, including, without limitation, jurisdiction to:

         10.1     Allow, disallow, determine, liquidate, classify or establish the priority or secured
 or unsecured    status of or estimate any Claim or Interest, including, without limitation, the
 resolution of    any request for payment of any Administrative Claim or Indenture Trustee
 expenses and    the resolution of any and all objections to the allowance or priority of Claims or
 Interests;

        10.2 Grant or deny any and all applications for allowance of compensation or
 reimbursement of expenses authorized pursuant to the Bankruptcy Code or the Plan, for periods
 ending on or before the Effective Date;

        10.3 Resolve any motions pending on the Effective Date to assume, assign or reject
 any executory contract or unexpired lease to which the Debtors are a party or with respect to
 which the Debtors may be liable and to hear, determine and, if necessary, liquidate, any and all
 Claims arising there from;

       10.4 Ensure that distributions to holders of Allowed Claims and Allowed Interests are
 accomplished pursuant to the provisions of the Plan;

        10.5 Decide or resolve any and all applications, motions, adversary proceedings,
 contested or litigated matters and any other matters or grant or deny any applications involving
 the Debtors that may be pending on the Effective Date;

       10.6 Enter such Orders as may be necessary or appropriate to implement or
 consummate the provisions of the Plan and all contracts, instruments, releases, and other
 agreements or documents created in connection with the Plan or the Disclosure Statement;

        10.7 Resolve any and all controversies, suits or issues that may arise in connection
 with the consummation, interpretation or enforcement of the Plan or any entity's obligations
 incurred in connection with the Plan, including the provisions of Article 9 hereof;

        10.8 Modify the Plan before or after the Effective Date, or to modify any contract,
 instrument, release, or other agreement or document created in connection with the Plan or the
 Disclosure Statement; or remedy any defect or omission or reconcile any inconsistency in any
 Bankruptcy Court Order, the Plan, or any contract, instrument, release, or other agreement or
 document created in connection with the Plan in such manner as may be necessary or appropriate
 to consummate the Plan, to the extent authorized by the Bankruptcy Code;




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        10.9 Issue injunctions, enter and implement other orders or take such other actions as
 may be necessary or appropriate to restrain interference by any entity with consummation or
 enforcement of the Plan;

        10.10 Enter and implement such orders as are necessary or appropriate if the
 Confirmation Order is for any reason modified, stayed, reversed, revoked or vacated;

         10.11 Determine any other matters that may arise in connection with or relate to the
 Plan, the Disclosure Statement, the Confirmation Order or any contract, instrument, release, or
 other agreement or document created in connection with the Plan or the Disclosure Statement;
 and

        10.12 Enter an order concluding the Reorganization Case.

         If the Bankruptcy Court abstains from exercising jurisdiction or is otherwise without
 jurisdiction over any matter arising out of the Reorganization Case, including, without limitation,
 the matters set forth in this Article, this Article shall have no effect upon and shall not control,
 prohibit, or limit the exercise of jurisdiction by any other court having competent jurisdiction
 with respect to such matter.


                                      ARTICLE 11
                               MISCELLANEOUS PROVISIONS

         11.1 Fractional Dollars. Any other provision of the Plan notwithstanding, no payments
 of fractions of dollars will be made to any holder of an Allowed Claim. Whenever any payment
 of a fraction of a dollar to any holder of an Allowed Claim would otherwise be called for, the
 actual payment made will reflect a rounding of such fraction to the nearest whole dollar (up or
 down).

         11.2 Modification of Plan. The Debtors reserve the right, in accordance with the
 Bankruptcy Code, to amend or modify the Plan prior to the entry of the Confirmation Order.
 After the entry of the Confirmation Order, the Debtors may, upon order of the Bankruptcy Court,
 amend or modify the Plan in accordance with the Bankruptcy Code, or remedy any defect or
 omission or reconcile any inconsistency in the Plan in such manner as may be necessary to carry
 out the purpose and intent of the Plan.

         11.3 Withdrawal of Plan. The Debtors reserve the right, at any time prior to entry of
 the Confirmation Order, to revoke or withdraw the Plan. If the Debtors revoke or withdraws the
 Plan, then the Plan shall be deemed null and void. In that event, nothing contained in the Plan
 shall be deemed to constitute a waiver or release of any Claims by or against the Debtors or any
 other person, or to prejudice in any manner the rights of the Debtors or any other person in any
 further proceedings involving the Debtor.




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         11.4 Governing Law. Except to the extent the Bankruptcy Code or the Bankruptcy
 Rules are applicable, the rights and obligations arising under the Plan shall be governed by, and
 construed and enforced in accordance with the laws of the State of Alabama, without giving
 effect to the principles of conflicts of law thereof.

         11.5 Time. In computing any period of time prescribed or allowed by this Plan, the day
 of the act, event, or default from which the designated period of time begins to run shall not be
 included. The last day of the period so computed shall be included, unless it is not a Business
 Day or, when the act to be done is the filing of a paper in court, a day on which weather or other
 conditions have made the clerk's office inaccessible, in which event the period runs until the end
 of the next day which is not one of the aforementioned days. When the period of time prescribed
 or allowed is less than eight days, intermediate days that are not Business Days shall be excluded
 in the computation.

         11.6 Payment Dates. Whenever any payment to be made under the Plan is due on a day
 other than a Business Day, such payment will instead be made, without interest, on the next
 Business Day.

        11.7 Headings. The headings used in this Plan are inserted for convenience only and do
 not constitute a portion of the Plan or in any manner affect the provisions of the Plan.

         11.8 Successors and Assigns. The rights, benefits and obligations of any entity named
 or referred to in the Plan shall be binding on, and shall inure to the benefit of, any heir, executor,
 administrator, successor or assign of such entity.

         11.9 Severability of Plan Provisions. If prior to Confirmation any term or provision of
 the Plan, which does not govern the treatment of Claims or Interests or the conditions of the
 Effective Date, is held by the Bankruptcy Court to be invalid, void, or unenforceable, the
 Bankruptcy Court shall have the power to alter and interpret such term or provision to make it
 valid or enforceable to the maximum extent practicable, consistent with the original purpose of
 the term or provision held to be invalid, void, or unenforceable, and such term or provision shall
 then be applicable as altered or interpreted. Notwithstanding any such holding, alteration or
 interpretation, the remainder of the terms and provisions of the Plan will remain in full force and
 effect and will in no way be affected, impaired, or invalidated by such holding, alteration, or
 interpretation. The Confirmation Order shall constitute a judicial determination and shall provide
 that each term and provision of the Plan, as it may have been altered or interpreted in accordance
 with the foregoing, is valid and enforceable pursuant to its terms.

         11.10 No Admissions. Notwithstanding anything herein to the contrary, nothing
 contained in the Plan shall be deemed as an admission by the Debtors with respect to any matter
 set forth herein, including, without limitation, liability on any Claim or the propriety of any
 Claims classification.

        11.11 Notices. Notices to be provided under this Plan shall be transmitted to the Debtors
 by service to both of the following addresses:




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        Markel Behel and Melanie Behel
        c/o Their Attorneys
        SPARKMAN, SHEPARD & MORRIS, P.C.
        P. O. Box 19045
        Huntsville, AL 35804

        and

        Markel Behel and Melanie Behel
        1050 County Road 144
        Killen, AL 35646



        Submitted this 4th day of September, 2018.

                                             /s/ Markel Behel
                                             Markel Behel, Chapter 12 Debtor


                                             /s/ Melanie Behel
                                             Melanie Behel, Chapter 12 Debtor
 Of Counsel:

 SPARKMAN, SHEPARD & MORRIS, P.C.
 P. O. Box 19045
 Huntsville, AL 35804
 Tel: (256) 512-9924
 Fax: (256) 512-9837



                                CERTIFICATE OF SERVICE

        This is to certify that I have this day served the foregoing document upon all addressees
 on the Clerk’s Mailing Matrix in this case and Richard M. Blythe, Office of the Bankruptcy
 Administrator, P.O. Box 3045, Decatur, AL 35062 by electronic service through the Court’s
 CM/ECF system and/or by placing a copy of the same in the U. S. Mail, postage prepaid this 4th
 day of September, 2018.


                                             /s/ Tazewell T. Shepard
                                             Tazewell T. Shepard




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